                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


STUDENTS FOR FAIR                          )
ADMISSIONS, INC.,                          )
                                           )
                     Plaintiff,            )
                                           )
              v.                           )       1:14CV954
                                           )
UNIVERSITY OF NORTH                        )
CAROLINA, et al.,                          )
                                           )
                     Defendants.           )

                                           ORDER


       This matter is before the Court on the Joint Motion to Dispense with the Pre-Trial

Settlement Conference. (ECF No. 199).

       Based on representations to the Court and for good cause shown,

       IT IS HEREBY ORDERED that the motion is GRANTED, and the pre-trial

settlement conference scheduled for April 8, 2020 before Magistrate Judge Webster is

CANCELLED with his knowledge and agreement. Further, any corresponding requisite

submission with respect to the pre-trial settlement conference only, is no longer required.

       This, the 18th day of March 2020.

                                           /s/ Loretta C. Biggs
                                           United States District Judge




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